B 1 (Official Form 1) (1/08)
             Case:08-60700-JSD    Doc#:1
                        United States      Filed:10/22/08
                                      Bankruptcy  Court   Entered:10/22/08 16:01:17 Page:1 of 54
                         Southern District of Georgia                           Voluntary Petition

 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Sledge, Temeka, P
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):

Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if              Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN(if more
more than one, state all): 9977                                                                  than one, state all):


 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   194 Frink Road
   Statesboro GA
                                                             ZIP CODE          30458                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Bulloch
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                            ZIP CODE
                      Type of Debtor                                           Nature of Business                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                  the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                               (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,190,000.
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to    $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                  $500,000,001     More than $1
 $50,000 $100,000         $500,000       $1          to $10     to $50      to $100     to $500                       to $1 billion    billion
                                         million     million    million     million     million
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to    $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000       $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                         million     million    million     million     million
B 1 (Official Form 1) (1/0 8)                                                                                                                                            FORM B1, Page 2
       Case:08-60700-JSD
Voluntary Petition       Doc#:1 Filed:10/22/08NameEntered:10/22/08
                                                   of Debtor(s):
                                                                   16:01:17                                                                                  Page:2 of 54
  (This page must be completed and filed in every case)
                                                                                                 Temeka P Sledge
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                             Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor(If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                             Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                     Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X s/Angela McElroy-Magruder                                10/22/2008
                                                                                                       Signature of Attorney for Debtor(s)                      Date
                                                                                                        Angela McElroy-Magruder                                 113625
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                          Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
B 1 (Official Form 1) (1/0 8)                                                                                                                                         FORM B1, Page 3
        Case:08-60700-JSD
Voluntary Petition        Doc#:1 Filed:10/22/08NameEntered:10/22/08
                                                    of Debtor(s):
                                                                    16:01:17                                                                             Page:3 of 54
  (This page must be completed and filed in every case)                                       Temeka P Sledge

                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                    I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ Temeka P Sledge                                                                       X Not Applicable
       Signature of Debtor        Temeka P Sledge                                                 (Signature of Foreign Representative)

   X Not Applicable
       Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       10/22/2008                                                                                 Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X s/Angela McElroy-Magruder                                                                 I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
      Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                              debtor with a copy of this document and the notices and information required under 11
      Angela McElroy-Magruder Bar No. 113625                                                  U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
      Printed Name of Attorney for Debtor(s) / Bar No.                                        promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                              by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      CLAEYS MCELROY-MAGRUDER                                                                 before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                              as required in that section. Official Form 19 is attached.
      Firm Name
      512 Telfair Street Augusta GA 30901
      Address                                                                                     Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer


      706-724-6000                                      706-724-3363
                                                                                                 Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
      10/22/2008                                                                                 the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the             Date
 debtor.
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                 partner whose Social-Security number is provided above.
 The debtor requests the relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.                                                               Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                 in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                individual.
     Signature of Authorized Individual                                                          If more than one person prepared this document, attach to the appropriate official form
                                                                                                 for each person.

     Printed Name of Authorized Individual                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                 the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                 both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                         Page:4 of 54
Official Form 1, Exhibit D (10/06)

                                  UNITED STATES BANKRUPTCY COURT
                                          Southern District of Georgia


         In re:   Temeka P Sledge                                                   Case No.
                     Debtor                                                                                    (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                           CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

               1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 15 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent circumstances
merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now. [Must be
accompanied by a motion for determination by the court.] [Summarize exigent circumstances here.]

                                                                                                                             .


         If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file your
bankruptcy case and promptly file a certificate from the agency that provided the briefing, together with a
copy of any debt management plan developed through the agency. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must be filed
within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the
court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing, your case may be dismissed.

              4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.
Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                  Page:5 of 54
Official Form 1, Exh. D (10/06) – Cont.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

        I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Temeka P Sledge
                     Temeka P Sledge

Date: 10/22/2008
             Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                      Page:6 of 54
B6A (Official Form 6A) (12/07)

In re:   Temeka P Sledge                                                                                                                    Case No.
                                                                                          ,
                                                                                                                                                                        (If known)
                                                             Debtor



                                               SCHEDULE A - REAL PROPERTY
              Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
         cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the
         debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W ,” “J,”
         or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and
         Location of Property.”


             Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G -
         Executory Contracts and Unexpired Leases.

               If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
         to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

              If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
         Claimed as Exempt.




                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                            CURRENT VALUE
                                                                                                                                             OF DEBTOR'S




                                                                                                           OR COMMUNITY
                                                                                                                                              INTEREST IN
                 DESCRIPTION AND                                                                                                          PROPERTY, WITHOUT                    AMOUNT OF
                                                                   NATURE OF DEBTOR'S                                                       DEDUCTING ANY
                   LOCATION OF                                                                                                                                                  SECURED
                                                                  INTEREST IN PROPERTY                                                     SECURED CLAIM
                    PROPERTY                                                                                                                                                     CLAIM
                                                                                                                                             OR EXEMPTION




                                                                                              Total                                0.00
                                                                                                                               (Report also on Summary of Schedules.)
         Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                        Page:7 of 54
B6B (Official Form 6B) (12/07)

In re   Temeka P Sledge                                                                ,                    Case No.
                                                                Debtor                                                                            (If known)



                                         SCHEDULE B - PERSONAL PROPERTY

              Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the
        categories, place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate
        sheet properly identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband,
        wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or
        Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property
        Claimed as Exempt.

            Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts
        and Unexpired Leases.

        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
        the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
        "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                   CURRENT VALUE OF




                                                                                                                             OR COMMUNITY
                                                                                                                                                   DEBTOR'S INTEREST
                                                                                                                                                   IN PROPERTY, WITH-
                                                  NONE




                                                                         DESCRIPTION AND LOCATION                                                  OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                   OF PROPERTY                                                           SECURED CLAIM
                                                                                                                                                      OR EXEMPTION




  1. Cash on hand                                        cash                                                                                                    50.00
  2. Checking, savings or other financial         X
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
  3. Security deposits with public utilities,     X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                    television                                                                                            2,800.00
     including audio, video, and computer
     equipment.                                          bedroom sutie
                                                         appliances
                                                         livingroom suite
                                                         dining suite
                                                         appliances
                                                         misc items located at residence
  5. Books, pictures and other art objects,              misc items located at residence                                                                         50.00
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                    wearing apparel located on person & residence                                                          200.00
  7. Furs and jewelry.                                   misc jewelry located on person & residence                                                              25.00
  8. Firearms and sports, photographic, and       X
     other hobby equipment.
  9. Interests in insurance policies. Name        X
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each             X
     issuer.
          Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                            Page:8 of 54
B6B (Official Form 6B) (12/07) -- Cont.

In re   Temeka P Sledge                                                                ,             Case No.
                                                                Debtor                                                                 (If known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                         (Continuation Sheet)




                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF




                                                                                                                  OR COMMUNITY
                                                                                                                                        DEBTOR'S INTEREST
                                                                                                                                        IN PROPERTY, WITH-


                                                    NONE
                                                                          DESCRIPTION AND LOCATION                                      OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                    OF PROPERTY                                               SECURED CLAIM
                                                                                                                                           OR EXEMPTION




 11. Interests in an education IRA as defined       X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other       X
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other              2004 Dodge Stratus                                                                       4,375.00
     vehicles and accessories.
 26. Boats, motors, and accessories.                X
 27. Aircraft and accessories.                      X
         Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                            Page:9 of 54
B6B (Official Form 6B) (12/07) -- Cont.

In re   Temeka P Sledge                                                            ,            Case No.
                                                           Debtor                                                                     (If known)



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                    (Continuation Sheet)




                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                       CURRENT VALUE OF




                                                                                                                 OR COMMUNITY
                                                                                                                                       DEBTOR'S INTEREST
                                                                                                                                       IN PROPERTY, WITH-


                                               NONE
                                                                     DESCRIPTION AND LOCATION                                          OUT DEDUCTING ANY
           TYPE OF PROPERTY                                                OF PROPERTY                                                   SECURED CLAIM
                                                                                                                                          OR EXEMPTION




 28. Office equipment, furnishings, and        X
     supplies.
 29. Machinery, fixtures, equipment and        X
     supplies used in business.
 30. Inventory.                                X
 31. Animals.                                  X
 32. Crops - growing or harvested. Give        X
     particulars.
 33. Farming equipment and implements.         X
 34. Farm supplies, chemicals, and feed.       X
 35. Other personal property of any kind not          tools, toys                                                                                     100.00
     already listed. Itemize.

                                                      2    continuation sheets attached                Total                                       $ 7,600.00

                                                                                                           (Include amounts from any continuation sheets
                                                                                                           attached. Report total also on Summary of
                                                                                                           Schedules.)
         Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                        Page:10 of 54
B6C (Official Form 6C) (12/07)


In re   Temeka P Sledge                                                                         Case No.
                                                                                    ,
                                                                                                                       (If known)
                                                            Debtor



                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:          Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                          $136,875
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                         VALUE OF                     CURRENT
                                                         SPECIFY LAW
                                                                                         CLAIMED                 VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                         PROVIDING EACH
                                                                                        EXEMPTION                WITHOUT DEDUCTING
                                                          EXEMPTION
                                                                                                                     EXEMPTION


2004 Dodge Stratus                         Ga. Code Ann. § 44-13-100(a)(3)                          0.00                             4,375.00

cash                                       Ga. Code Ann. § 44-13-100(a)(6)                      50.00                                  50.00

misc items located at                      Ga. Code Ann. § 44-13-100(a)(4)                      50.00                                  50.00
residence
misc jewelry located on person             Ga. Code Ann. § 44-13-100(a)(5)                      25.00                                  25.00
& residence
television                                 Ga. Code Ann. § 44-13-100(a)(4)                   2,800.00                                2,800.00
bedroom sutie
appliances
livingroom suite
dining suite
appliances
misc items located at
residence
tools, toys                                Ga. Code Ann. § 44-13-100(a)(6)                     100.00                                 100.00

wearing apparel located on                 Ga. Code Ann. § 44-13-100(a)(4)                     200.00                                 200.00
person & residence
            Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                       Page:11 of 54
B6D (Official Form 6D) (12/07)


 In re   Temeka P Sledge                                                                                         ,
                                                                                                                             Case No.
                                                                                                                                                                              (If known)
                                                           Debtor


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
            State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interes

           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
 Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
 entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
 Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
 labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
 these three columns.)

            Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
 labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
 of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.



                     Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                        HUSBAND, WIFE, JOINT




                CREDITOR'S NAME AND                                                                        DATE CLAIM WAS                                                     AMOUNT OF
                                                                                                                                                                                                          UNSECURED


                                                                                                                                                 UNLIQUIDATED
                                                                          OR COMMUNITY




                  MAILING ADDRESS                                                                         INCURRED, NATURE          CONTINGENT                               CLAIM WITHOUT
                                                             CODEBTOR




                                                                                                                                                                                                          PORTION, IF


                                                                                                                                                                DISPUTED
              INCLUDING ZIP CODE AND                                                                         OF LIEN, AND                                                      DEDUCTING
                AN ACCOUNT NUMBER                                                                          DESCRIPTION AND                                                      VALUE OF                     ANY
               (See Instructions, Above.)                                                                VALUE OF PROPERTY                                                    COLLATERAL
                                                                                                           SUBJECT TO LIEN


 ACCOUNT NO. 572600..                                                                                                                                                                      836.00                  836.00
                                                                                               Non-Purchase Money Security
 1st Franklin Financial
                                                                                               Agreement
 PO box 1063
                                                                                               personal property/hhg
 Statesboro GA 30459
                                                                                               __________________________
                                                                                               VALUE $0.00

 ACCOUNT NO.                                                                                                                                                                                   1.00                    1.00
                                                                                               Judgment Lien
 Melvin & Joy Williams
                                                                                               judgment
 3509 Northpines Dr
                                                                                               __________________________
 Augusta GA 30906
                                                                                               VALUE $0.00


 1        continuation sheets
          attached
                                                                                               Subtotal
                                                                                               (Total of this page)
                                                                                                                                                                             $             837.00 $                837.00



                                                                                               Total                                                                         $                        $
                                                                                               (Use only on last page)


                                                                                                                                                                           (Report also on Summary of (If applicable, report
                                                                                                                                                                           Schedules)                 also on Statistical
                                                                                                                                                                                                      Summary of Certain
                                                                                                                                                                                                      Liabilities and
                                                                                                                                                                                                      Related Data.)
            Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                       Page:12 of 54
B6D (Official Form 6D) (12/07)- Cont.


 In re   Temeka P Sledge                                                                         ,
                                                                                                             Case No.
                                                                                                                                                              (If known)
                                            Debtor


                   SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                    (Continuation Sheet)




                                                        HUSBAND, WIFE, JOINT
                CREDITOR'S NAME AND                                                        DATE CLAIM WAS                                                     AMOUNT OF
                                                                                                                                                                                         UNSECURED




                                                                                                                                 UNLIQUIDATED
                                                          OR COMMUNITY
                  MAILING ADDRESS                                                         INCURRED, NATURE                                                   CLAIM WITHOUT




                                                                                                                    CONTINGENT
                                             CODEBTOR
                                                                                                                                                                                         PORTION, IF




                                                                                                                                                DISPUTED
              INCLUDING ZIP CODE AND                                                         OF LIEN, AND                                                      DEDUCTING
                AN ACCOUNT NUMBER                                                          DESCRIPTION AND                                                      VALUE OF                    ANY
               (See Instructions, Above.)                                                VALUE OF PROPERTY                                                    COLLATERAL
                                                                                           SUBJECT TO LIEN


 ACCOUNT NO.                                                                                                                                                               300.00                  300.00
                                                                               Non-Purchase Money Security
 Personal Finance
                                                                               Agreement
 223 S Main Street
                                                                               personal property/hhg
 Statesboro GA 30458
                                                                               __________________________
                                                                               VALUE $0.00

 ACCOUNT NO. 2252..                                                                                                                                                     8,000.00                3,625.00
                                                                               Security Agreement
 SST Inc
                                                                               2004 Dodge Stratus
 PO Box 801997
                                                                               __________________________
 Kansas City MO 64180
                                                                               VALUE $4,375.00


 Peak 5
 6782 S Potomac St
 Centennial CO 80112




 Sheet no. 1 of 1 continuation                                                 Subtotal
 sheets attached to Schedule of                                                (Total of this page)
                                                                                                                                                             $          8,300.00 $              3,925.00
 Creditors Holding Secured
 Claims

                                                                               Total                                                                         $          9,137.00 $              4,762.00
                                                                               (Use only on last page)


                                                                                                                                                           (Report also on Summary of (If applicable, report
                                                                                                                                                           Schedules)                 also on Statistical
                                                                                                                                                                                      Summary of Certain
                                                                                                                                                                                      Liabilities and
                                                                                                                                                                                      Related Data.)
             Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                          Page:13 of 54
B6E (Official Form 6E) (12/07)

In re       Temeka P Sledge                                                             ,                                Case No.
                                                               Debtor                                                                                (If known)


                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is
contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is
disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

      Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer
debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Da

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
              Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                        Page:14 of 54
B6E (Official Form 6E) (12/07) – Cont.

In re      Temeka P Sledge                                                             ,                                 Case No.
                                                                                                                                                    (If known)
                                                            Debtor

        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

     Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                     1 continuation sheets attached
           Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                               Page:15 of 54
B6E (Official Form 6E) (12/07) – Cont.


In re     Temeka P Sledge                                                                                                                                                   Case No.
                                                                                                                   ,                                                                                 (If known)
                                                                      Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                  (Continuation Sheet)




                                                                   HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                                AMOUNT            AMOUNT          AMOUNT




                                                                     OR COMMUNITY




                                                                                                                                                 UNLIQUIDATED
                                                                                                                                    CONTINGENT
                                                        CODEBTOR




                                                                                                                                                                DISPUTED
              MAILING ADDRESS                                                                 INCURRED AND                                                                 OF CLAIM        ENTITLED TO         NOT
            INCLUDING ZIP CODE,                                                              CONSIDERATION                                                                                  PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                   FOR CLAIM                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                                                                           ANY



 ACCOUNT NO.




                                                                                                                                   Subtotals                       $
Sheet no. 1 of 1 continuation sheets attached to Schedule of                                                           (Totals of this page)
                                                                                                                                                                               0.00 $             0.00 $           0.00
Creditors Holding Priority Claims


                                                                                                                                  Total
                                                                                          (Use only on last page of the completed
                                                                                          Schedule E. Report also on the Summary of
                                                                                                                                                                  $            0.00
                                                                                          Schedules.)
                                                                                                                                    Total
                                                                                          (Use only on last page of the completed                                                      $          0.00 $           0.00
                                                                                          Schedule E. If applicable, report also on the
                                                                                          Statistical Summary of Certain Liabilities
                                                                                          and Related Data. )
           Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                                    Page:16 of 54
B6F (Official Form 6F) (12/07)

In re    Temeka P Sledge                                                                                                                   Case No.
                                                                                                                   ,
                                                             Debtor                                                                                                            (If known)

         SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

          State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
   priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has
   with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's
   initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
   name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use
   the continuation sheet provided.

        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on
   the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or
   the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”


        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled
   “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three
   columns.)

         Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on
   the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain
   Liabilities and Related Data..

                     Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                         HUSBAND, WIFE, JOINT




                  CREDITOR'S NAME,                                                                                 DATE CLAIM WAS                                                                            AMOUNT OF
                                                                           OR COMMUNITY




                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                  CONTINGENT
                   MAILING ADDRESS                                                                                  INCURRED AND                                                                               CLAIM
                                                              CODEBTOR




                                                                                                                                                                                                  DISPUTED
                 INCLUDING ZIP CODE,                                                                             CONSIDERATION FOR
                AND ACCOUNT NUMBER                                                                                      CLAIM.
                 (See instructions above.)                                                                      IF CLAIM IS SUBJECT TO
                                                                                                                   SETOFF, SO STATE

ACCOUNT NO.          ....5879                                                                                                                                                                                        0.00
 AccountSecure                                                                                    collections
 PO Box 6989
 Bridgewater NJ 08807



ACCOUNT NO.                                                                                                                                                                                                          1.00
 American Recovery & Investigations                                                               collections
 PO box 518
 Guton GA 31312




                 5    Continuation sheets attached

                                                                                                                                                                 Subtotal                            $               1.00



                                                                                                                                                                                                     $
                                                                                                                                                                         Total
                                                                                                                   (Use only on last page of the completed Schedule F.)
                                                                                                (Report also on Summary of Schedules and, if applicable on the Statistica
                                                                                                                      Summary of Certain Liabilities and Related Data.)
            Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                                       Page:17 of 54
B6F (Official Form 6F) (12/07) - Cont.

In re      Temeka P Sledge                                                                                                                     Case No.
                                                                                                                       ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                       (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                    DATE CLAIM WAS                                                                            AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                     INCURRED AND                                                                               CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                      DISPUTED
                  INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                         CLAIM.
                  (See instructions above.)                                                                         IF CLAIM IS SUBJECT TO
                                                                                                                       SETOFF, SO STATE

 ACCOUNT NO.        422709303455..                                                                                                                                                                                     879.00
 Applied Bank                                                                                         credit card
 PO Box 10210
 Wilmington DE 19850



 Simm Associates
 PO Box 7526
 Newark DE 19714
 ACCOUNT NO.        370308..                                                                                                                                                                                           360.62
 AT&T Mobility                                                                                        services
 PO Bxo 538641
 Atlanta GA 30353



 First Revenue Assurance
 PO Box 3020
 Albuquerque NM 87190
 ACCOUNT NO.        407193020212...                                                                                                                                                                                    761.98
 Bank of Marin                                                                                        collections
 c/o Asset Acceptance
 PO Box 2036
 Warren MI 48090


 ACCOUNT NO.        517805724499..                                                                                                                                                                                   1,153.00
 Capital One                                                                                          credit card
 PO Box 30285
 SLC UT 84130




Sheet no. 1 of 5 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                            $           3,154.60
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                         $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistica
                                                                                                                          Summary of Certain Liabilities and Related Data.)
            Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                                       Page:18 of 54
B6F (Official Form 6F) (12/07) - Cont.

In re      Temeka P Sledge                                                                                                                     Case No.
                                                                                                                       ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                       (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                    DATE CLAIM WAS                                                                            AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                     INCURRED AND                                                                               CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                      DISPUTED
                  INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                         CLAIM.
                  (See instructions above.)                                                                         IF CLAIM IS SUBJECT TO
                                                                                                                       SETOFF, SO STATE

 ACCOUNT NO.        280..                                                                                                                                                                                               95.00
 City of Statesboro                                                                                   collections
 c/o Lanier
 330 Benfield Dr
 Savannah GA 31406


 ACCOUNT NO.                                                                                                                                                                                                           195.20
 Credit Guard of Georgia                                                                              collections
 PO Box 172
 Swainsboro GA 30401



 ACCOUNT NO.        50504..                                                                                                                                                                                             49.00
 East GA Diagnostic Svcs                                                                              collections
 c/o Cab Collection
 2230 Technical Pkwy
 N Charleston SC 29406


 ACCOUNT NO.        151..                                                                                                                                                                                               96.00
 East Ga Pulmonary                                                                                    medical
 PO box 2748
 Statesboro GA 30459



 ACCOUNT NO.        833..                                                                                                                                                                                               51.19
 Family Health Care Center                                                                            medical
 PO Box 957
 Statesboro GA 30459




Sheet no. 2 of 5 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                            $             486.39
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                         $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistica
                                                                                                                          Summary of Certain Liabilities and Related Data.)
            Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                                       Page:19 of 54
B6F (Official Form 6F) (12/07) - Cont.

In re      Temeka P Sledge                                                                                                                     Case No.
                                                                                                                       ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                       (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                    DATE CLAIM WAS                                                                            AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                     INCURRED AND                                                                               CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                      DISPUTED
                  INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                         CLAIM.
                  (See instructions above.)                                                                         IF CLAIM IS SUBJECT TO
                                                                                                                       SETOFF, SO STATE

 ACCOUNT NO.        517800778884..                                                                                                                                                                                     444.00
 First Premier                                                                                        credit card
 601 S Minnesota Ave
 Sioux Falls SD 57104



 ACCOUNT NO.        240910..                                                                                                                                                                                           297.00
 GEMB/JC Penney                                                                                       credit card
 PO Box 981402
 El Paso TX 79998



 ACCOUNT NO.        515599000746..                                                                                                                                                                                     711.00
 HSBC Bank                                                                                            credit card
 PO Box 5253
 Carol Stream IL 60197



 ARC
 6405 218th St, SW, Ste 302
 Mountlake Terrace WA 98043
 ACCOUNT NO.        8328..                                                                                                                                                                                           1,337.16
 International Portfolio                                                                              collections
 c/o Weltman Weinberg & Reis Co
 965 Keynote Circle
 Brooklyn Heights OH 44131




Sheet no. 3 of 5 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                            $           2,789.16
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                         $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistica
                                                                                                                          Summary of Certain Liabilities and Related Data.)
            Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                                       Page:20 of 54
B6F (Official Form 6F) (12/07) - Cont.

In re      Temeka P Sledge                                                                                                                     Case No.
                                                                                                                       ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                       (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                    DATE CLAIM WAS                                                                            AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                     INCURRED AND                                                                               CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                      DISPUTED
                  INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                         CLAIM.
                  (See instructions above.)                                                                         IF CLAIM IS SUBJECT TO
                                                                                                                       SETOFF, SO STATE

 ACCOUNT NO.        2057..                                                                                                                                                                                              45.85
 Proactiv Solutions                                                                                   collections
 c/o Sko Brenner American
 PO Box 230
 Frmngdale NY 11735


 ACCOUNT NO.        7077..                                                                                                                                                                                              84.00
 Progressive Insurance                                                                                collections
 c/o NCO Financial
 PO Box 15636
 Wilmington DE 19850


 ACCOUNT NO.        4728..                                                                                                                                                                                              11.19
 Quest Diagnostics                                                                                    medical
 PO Bxo 41652
 Philadelphia PA 19101



 ACCOUNT NO.        420119...                                                                                                                                                                                        1,750.00
 US Dept of Education                                                                                 student loan
 501 Bleecker St
 Utica NY 13501




Sheet no. 4 of 5 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                            $           1,891.04
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                         $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistica
                                                                                                                          Summary of Certain Liabilities and Related Data.)
            Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                                                                                       Page:21 of 54
B6F (Official Form 6F) (12/07) - Cont.

In re      Temeka P Sledge                                                                                                                     Case No.
                                                                                                                       ,
                                                                Debtor                                                                                                             (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                       (Continuation Sheet)




                                                                             HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                    DATE CLAIM WAS                                                                            AMOUNT OF




                                                                               OR COMMUNITY




                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                     INCURRED AND                                                                               CLAIM




                                                                  CODEBTOR




                                                                                                                                                                                                      DISPUTED
                  INCLUDING ZIP CODE,                                                                                CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                         CLAIM.
                  (See instructions above.)                                                                         IF CLAIM IS SUBJECT TO
                                                                                                                       SETOFF, SO STATE

 ACCOUNT NO.        9977..                                                                                                                                                                                             336.38
 Walter Home med Equip                                                                                collections
 c/o Reynolds & Robin
 PO Box 888
 Metter GA 30439

 Walker Home Medical
 206 Northside Dr W, Ste 1
 Statesboro GA 30458




Sheet no. 5 of 5 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                            $             336.38
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                         $            8,658.57
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                    (Report also on Summary of Schedules and, if applicable on the Statistica
                                                                                                                          Summary of Certain Liabilities and Related Data.)
         Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                        Page:22 of 54
B6G (Official Form 6G) (12/07)


In re:   Temeka P Sledge                                                               ,         Case No.
                                                           Debtor                                                         (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
            interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
            lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
            a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
            or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
            Fed. R. Bankr. P. 1007(m).




         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                           DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                   DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                       NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                               NUMBER OF ANY GOVERNMENT CONTRACT.


 AT&T Mobility                                                                  reject services
 PO Bxo 538641
 Atlanta GA 30353
        Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                        Page:23 of 54
B6H (Official Form 6H) (12/07)


In re: Temeka P Sledge                                                                            Case No.
                                                                                     ,                                       (If known)
                                                            Debtor


                                               SCHEDULE H - CODEBTORS
       Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year
period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided
with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years
immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr.
P. 1007(m).
          Check this box if debtor has no codebtors.




                     NAME AND ADDRESS OF CODEBTOR                                                    NAME AND ADDRESS OF CREDITOR
        Case:08-60700-JSD
B6I (Official Form 6I) (12/07)              Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                   Page:24 of 54
 In re     Temeka P Sledge                                                        ,                  Case No.
                                                                   Debtor                                                         (If known)


           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:      single
                                                RELATIONSHIP(S):                                                              AGE(S):


 Employment:                                            DEBTOR                                                    SPOUSE
 Occupation                     cook
 Name of Employer               Healthcare Services
 How long employed              2 weeks
 Address of Employer            3220 Tillman Drive Ste 300
                                Bensalem PA 19020
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                DEBTOR                         SPOUSE


 1. Monthly gross wages, salary, and commissions                                                 $                1,290.00 $
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                    $                     0.00 $

 3. SUBTOTAL                                                                                     $               1,290.00     $
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                    $                  207.69 $
                                                                                                 $                    0.00 $
         b. Insurance
         c. Union dues                                                                           $                    0.00 $
         d. Other (Specify)                                                                      $                     0.00 $

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                               $                  207.69 $
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                              $                1,082.31 $
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                             $                     0.00 $
 8. Income from real property                                                                    $                     0.00 $
 9. Interest and dividends                                                                       $                     0.00 $
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                           $                     0.00 $
 11. Social security or other government assistance
 (Specify)                                                                                       $                     0.00 $
 12. Pension or retirement income                                                                $                     0.00 $
 13. Other monthly income
 (Specify) prroated tax refund                                                                  $                  453.08     $

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                              $                 453.08     $

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                $                1,535.39 $
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                $ 1,535.39
 totals from line 15)
                                                                                             (Report also on Summary of Schedules and, if applicable, on
                                                                                              Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
 NONE
        Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                         Page:25 of 54
B6J (Official Form 6J) (12/07)

  In re Temeka P Sledge                                                              ,                        Case No.
                                                           Debtor                                                                  (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                   200.00
      a. Are real estate taxes included?         Yes                      No
       b. Is property insurance included?        Yes                      No
 2. Utilities: a. Electricity and heating fuel                                                                                $                   270.00
               b. Water and sewer                                                                                             $                    34.00
               c. Telephone                                                                                                   $                    60.00
               d. Other cable                                                                                                $                     50.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                     0.00
 4. Food                                                                                                                      $                   225.00
 5. Clothing                                                                                                                  $                    50.00
 6. Laundry and dry cleaning                                                                                                  $                    20.00
 7. Medical and dental expenses                                                                                               $                    30.00
 8. Transportation (not including car payments)                                                                               $                   260.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                    25.00
10. Charitable contributions                                                                                                  $                     0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                     0.00
                 b. Life                                                                                                      $                     0.00
                 c. Health                                                                                                    $                     0.00
                 d. Auto                                                                                                      $                   106.00
                 e. Other                                                                                                     $                      0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
               a. Auto                                                                                                        $                      0.00
                 b. Other                                                                                                     $                      0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                      0.00
 15. Payments for support of additional dependents not living at your home                                                    $                      0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                      0.00
 17. Other                                                                                                                    $                      0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 1,330.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 1,535.39
           b. Average monthly expenses from Line 18 above                                                                     $                 1,330.00
           c. Monthly net income (a. minus b.)                                                                                $                   205.39
          Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                        Page:26 of 54

B6 Cover (Form 6 Cover) (12/07)




FORM 6. SCHEDULES

Summary of Schedules
Statistical Summary of Certain Liabilities


Schedule A        -    Real Property
Schedule B        -    Personal Property
Schedule C        -    Property Claimed as Exempt
Schedule D        -    Creditors Holding Secured Claims
Schedule E        -    Creditors Holding Unsecured Priority Claims
Schedule F        -    Creditors Holding Unsecured Nonpriority Claims
Schedule G        -    Executory Contracts and Unexpired Leases
Schedule H        -    Codebtors
Schedule I        -    Current Income of Individual Debtor(s)
Schedule J        -    Current Expenditures of Individual Debtor(s)

Unsworn Declaration under Penalty of Perjury


GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any amendments thereto must
contain a caption as in Form 16B. Subsequent pages should be identified with the debtor’s name and case number. If the
schedules are filed with the petition, the case number should be left blank.

Schedules D, E, and F have been designed for the listing of each claim only once. Even when a claim is secured only in part
or entitled to priority only in part, it still should be listed only once. A claim which is secured in whole or in part should be
listed on Schedule D only, and a claim which is entitled to priority in whole or in part should be listed on Schedule E only. Do
not list the same claim twice. If a creditor has more than one claim, such as claims arising from separate transactions, each
claim should be scheduled separately.

Review the specific instructions for each schedule before completing the schedule.
           Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                       Page:27 of 54

B6 Summary (Official Form 6 - Summary) (12/07)

                                                         United States Bankruptcy Court
                                                            Southern District of Georgia


In re Temeka P Sledge                                                               ,                    Case No.
                                                             Debtor
                                                                                                         Chapter      13

                                                   SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                    ATTACHED        NO. OF SHEETS                 ASSETS                      LIABILITIES                   OTHER
                                           (YES/NO)

 A - Real Property                           YES                      1        $                  0.00

 B - Personal Property                       YES                      3        $             7,600.00

 C - Property Claimed
     as Exempt                               YES                      1

 D - Creditors Holding                       YES                      2                                    $               9,137.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                         YES                      3                                    $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured             YES                      6                                    $                8,658.57
     Nonpriority Claims

 G - Executory Contracts and                 YES                      1
     Unexpired Leases

 H - Codebtors                               YES                      1

 I - Current Income of                                                                                                                     $           1,535.39
     Individual Debtor(s)                    YES                      1

 J - Current Expenditures of                 YES                      1
     Individual Debtor(s)                                                                                                                  $           1,330.00

                                                                    20         $            7,600.00       $            17,795.57
                                   TOTAL
        Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                      Page:28 of 54
Form 6 - Statistical Summary (12/07)

                                                      United States Bankruptcy Court
                                                       Southern District of Georgia

In re   Temeka P Sledge                                                            ,
                                                                                                     Case No.
                                                            Debtor                                   Chapter      13


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


               Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $ 0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $ 0.00

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $ 0.00

 Student Loan Obligations (from Schedule F)                                 $ 1,750.00

 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $ 0.00

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $ 0.00

                                                            TOTAL            $ 1,750.00

State the following:

 Average Income (from Schedule I, Line 16)                                  $ 1,535.39

 Average Expenses (from Schedule J, Line 18)                                $ 1,330.00
 Current Monthly Income (from Form 22A Line 12;OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $ 663.08


State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                                   $4,762.00

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                    $ 0.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                                    $0.00
 4. Total from Schedule F                                                                          $8,658.57

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $13,420.57
       Case:08-60700-JSD
B6 Declaration                          Doc#:1
               (Official Form 6 - Declaration) (12/07)Filed:10/22/08                 Entered:10/22/08 16:01:17                         Page:29 of 54

    In re Temeka P Sledge                                                               ,                                 Case No.
                                                            Debtor                                                                              (If known)


                           DECLARATION CONCERNING DEBTOR'S SCHEDULES
                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
       I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                          22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date: 10/22/2008                                                              Signature:    s/ Temeka P Sledge
                                                                                            Temeka P Sledge
                                                                                                                          Debtor

Date:                                                                         Signature:


                                                                                                                   (Joint Debtor, if any)
                                                                               [If joint case, both spouses must sign]


                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
      I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition                 Social Security No.
Preparer                                                                        (Required by 11 U.S.C. § 110.)
If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible
person, or partner who signs this document.


Address

X

     Signature of Bankruptcy Petition Preparer                                                                Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition
preparer is not an individual:
If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

       I , the of the ________________ named as debtor in this case, declare under penalty of
perjury that I have read the foregoing summary and schedules, consisting of                                        sheets (Total shown on summary page plus 1),
and that they are true and correct to the best of my knowledge, information, and belief.



Date                                                             Signature:


                                                                                   [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]




Penalty for making a false statement or concealing property:Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and
3571.
         Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                         Page:30 of 54
B7 (Official Form 7) (12/07)


                                                  UNITED STATES BANKRUPTCY COURT
                                                       Southern District of Georgia

In re:   Temeka P Sledge                                                                        Case No.
                                                                            ,
                                                       Debtor                                                       (If known)




                                          STATEMENT OF FINANCIAL AFFAIRS
            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the
information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor
engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should provide the information requested
on this statement concerning all such activities as well as the individual's personal affairs. To indicate payments, transfers and the like to
minor children, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John
Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must
complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is
needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known),
and the number of the question.
                                                                  DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual
debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this
bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity
securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time.
An individual debtor also may be “in business” for the purpose of this form if the debtor engages in a trade, business, or other activity,
other than as an employee, to supplement income from the debtor’s primary
employment.
           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their
relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or
more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any
managing agent of the debtor. 11 U.S.C. § 101.


          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
          AMOUNT                            SOURCE                                          FISCAL YEAR PERIOD

          28,304.00                         wages                                           2006

          22,064.00                         wages                                           2007
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                      Page:31 of 54
                                                                                                                         2

        2. Income other than from employment or operation of business
None    State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
        business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
        filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
        each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD
        4,260.00                          food stamps                                                           2008


        3. Payments to creditors

        Complete a. or b., as appropriate, and c.
None    a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
        services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
        the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
        (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
        repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
        under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
        unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF                               DATES OF                                AMOUNT                AMOUNT
        CREDITOR                                          PAYMENTS                                PAID                  STILL OWING



None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF CREDITOR                     DATES OF                               AMOUNT                 AMOUNT
                                                         PAYMENTS/                              PAID OR                STILL
                                                         TRANSFERS                              VALUE OF               OWING
                                                                                                TRANSFERS




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
        benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
        by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        NAME AND ADDRESS OF CREDITOR                     DATE OF                                 AMOUNT                AMOUNT
        AND RELATIONSHIP TO DEBTOR                       PAYMENT                                 PAID                  STILL OWING
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                      Page:32 of 54
                                                                                                                          3

        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
        the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        CAPTION OF SUIT                                                         COURT OR AGENCY                       STATUS OR
        AND CASE NUMBER                      NATURE OF PROCEEDING               AND LOCATIO                           DISPOSITION
        Melvin & Joy Williams v.             suit filed                         Magistrate Court Bulloch              judgment
        Tameka Sledge                                                           County
          07-07-58445                                                           PO Box 1004
                                                                                Statesboro GA 30459


None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
        NAME AND ADDRESS                                                                   DESCRIPTION
        OF PERSON FOR WHOSE                                    DATE OF                     AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                            SEIZURE                     PROPERTY

        5. Repossessions, foreclosures and returns
None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
        foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
        debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
        whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                               DATE OF REPOSSESSION, DESCRIPTION
        NAME AND ADDRESS                                       FORECLOSURE SALE,               AND VALUE OF
        OF CREDITOR OR SELLER                                  TRANSFER OR RETURN              PROPERTY



        6. Assignments and receiverships
None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
        commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
        or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
        filed.)
                                                                                           TERMS OF
        NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
        OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)


                                                 NAME AND ADDRESS                                           DESCRIPTION
        NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
        OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                       Page:33 of 54
                                                                                                                          4

        7. Gifts
None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
        ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
        contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
        gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)


        NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
        OF PERSON                                TO DEBTOR,                    DATE                         AND VALUE OF
        OR ORGANIZATION                          IF ANY                        OF GIFT                      GIFT

        8. Losses
None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
        of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
        include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
        joint petition is not filed.)

        DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
        AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                          DATE OF
        PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                                LOSS

        9. Payments related to debt counseling or bankruptcy
None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
        consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
        one year immediately preceding the commencement of this case.


        NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
        OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                             OTHER THAN DEBTOR              OF PROPERTY
        GreenPath Inc                                                                       $100 for pre & post counseling


        10. Other transfers
None    a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
        debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
        (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
        petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                    DESCRIBE PROPERTY
        NAME AND ADDRESS OF TRANSFEREE,                                                             TRANSFERRED
        RELATIONSHIP TO DEBTOR                                 DATE                                 AND VALUE RECEIVED




None    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
        self-settled trust or similar device of which the debtor is a beneficiary.


        NAME OF TRUST OR OTHER                               DATE(S) OF                     AMOUNT OF MONEY OR DESCRIPTION
        DEVICE                                               TRANSFER(S)                    AND VALUE OF PROPERTY OR DEBTOR
                                                                                            INTEREST IN PROPERTY
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                      Page:34 of 54
                                                                                                                          5

        11. Closed financial accounts
None    List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
        sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
        savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
        credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
        filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
        both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                           TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
        NAME AND ADDRESS                                   DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
        OF INSTITUTION                                     AND AMOUNT OF FINAL BALANCE                 OR CLOSING
        Core Credit Union
                                                                                                       overdrawn acct 2/08


        12. Safe deposit boxes
None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
        one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
        must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)


        NAME AND ADDRESS                         NAMES AND ADDRESSES                 DESCRIPTION                   DATE OF TRANSFER
        OF BANK OR                               OF THOSE WITH ACCESS                OF                            OR SURRENDER,
        OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                 CONTENTS                      IF ANY

        13. Setoffs
None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
        the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
        concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
        petition is not filed.)

                                                                        DATE OF                     AMOUNT OF
        NAME AND ADDRESS OF CREDITOR                                    SETOFF                      SETOFF

        14. Property held for another person
None    List all property owned by another person that the debtor holds or controls.
        NAME AND ADDRESS                                       DESCRIPTION AND VALUE
        OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


        15. Prior address of debtor
None    If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
        debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
        any separate address of either spouse.

        ADDRESS                                                         NAME USED                              DATES OF OCCUPANCY

        309 Institute St                                                Temeka Sledge                          2004-2006
        Statesboro GA 30458

        16. Spouses and Former Spouses
None    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
        immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
        who resides or resided with the debtor in the community property state.
        NAME
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                       Page:35 of 54
                                                                                                                           6

        17. Environmental Information.
        For the purpose of this question, the following definitions apply:

        "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
        hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
        including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

        "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
        formerly owned or operated by the debtor, including, but not limited to, disposal sites.

        "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
        hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
        a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
        that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
        date of the notice, and, if known, the Environmental Law.



        SITE NAME AND                              NAME AND ADDRESS                    DATE OF                   ENVIRONMENTAL
        ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                    LAW


None    b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
        Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



        SITE NAME AND                        NAME AND ADDRESS                      DATE OF                ENVIRONMENTAL
        ADDRESS                              OF GOVERNMENTAL UNIT                  NOTICE                 LAW


None    c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
        respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
        to the proceeding, and the docket number.



        NAME AND ADDRESS                           DOCKET NUMBER                                     STATUS OR
        OF GOVERNMENTAL UNIT                                                                         DISPOSITION
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                       Page:36 of 54
                                                                                                                          7

        18. Nature, location and name of business
None    a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
        and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
        executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
        other activity either full- or part-time within the six years immediately preceding the commencement of this case,
        or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
        preceding the commencement of this case.

        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
        and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
        the voting or equity securities, within the six years immediately preceding the commencement of this case.

        If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
        beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
        equity securities within the six years immediately preceding the commencement of this case.
                                  LAST FOUR DIGITS
                                  OF SOCIAL SECURITY ADDRESS                             NATURE OF
       NAME                       OR OTHER INDIVIDUAL                                                           BEGINNING AND ENDING
                                                                                         BUSINESS               DATES
                                  TAXPAYER-I.D. NO.
                                  (ITIN)/ COMPLETE EIN

None    b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
        U.S.C. § 101.


        NAME                                                                      ADDRESS



                                                                 * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 10/22/2008                                          Signature     s/ Temeka P Sledge
                                                            of Debtor     Temeka P Sledge
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                           Page:37 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                             According to the calculations required by this statement:
                                                                              The applicable commitment period is 3 years.
In re Temeka P Sledge                                                          The applicable commitment period is 5 years.
                    Debtor(s)                                                 Disposable income is determined under § 1325(b)(3)
Case Number:                                                                  Disposable income is not determined under § 1325(b)(3)
                    (If known)                                            (Check the boxes as directed in Lines 17 and 23 of this statement.)


                        CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                   AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing
jointly. Joint debtors may complete one statement only.



                                                       Part I. REPORT OF INCOME
         Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
         a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
   1     b.       Married. Complete both Column A ("Debtor's Income") and Column B (Spouse's Income) for Lines 2-10.
         All figures must reflect average monthly income received from all sources, derived during the           Column A           Column B
         six calendar months prior to filing the bankruptcy case, ending on the last day of the month             Debtor's          Spouse's
         before the filing. If the amount of monthly income varied during the six months, you must                Income             Income
         divide the six-month total by six, and enter the result on the appropriate line.

   2     Gross wages, salary, tips, bonuses, overtime, commissions.                                            $ 210.00         $
        Income from the operation of a business, profession or farm. Subtract Line b from
   3    Line a and enter the difference in the appropriate column(s) of Line 3. If you operate more
        than one business, profession or farm, enter aggregate numbers and provide details on an
        attachment. Do not enter a number less than zero. Do not include any part of the business
        expenses entered on Line b as a deduction in Part IV.
          a.    Gross Receipts                                               $ 0.00
          b.    Ordinary and necessary business expenses                     $ 0.00
          c.    Business income                                              Subtract Line b from Line a       $ 0.00           $
         Rent and other real property income. Subtract Line b from Line a and enter the difference
         in the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not
         include any part of the operating expenses entered on Line b as a deduction in Part IV.

   4      a.    Gross Receipts                                               $ 0.00
          b.    Ordinary and necessary operating expenses                    $ 0.00
                                                                                                               $ 0.00           $
          c.    Rent and other real property income                          Subtract Line b from Line a

   5     Interest, dividends, and royalties.                                                                   $ 0.00           $

   6     Pension and retirement income.                                                                        $ 0.00           $
         Any amounts paid by another person or entity, on a regular basis, for the household
   7
         expenses of the debtor or the debtor’s dependents, including child support paid for                   $ 0.00           $
         that purpose. Do not include alimony or separate maintenance payments or amounts paid
         by the debtor’s spouse.

         Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
         However, if you contend that unemployment compensation received by you or your spouse
         was a benefit under the Social Security Act, do not list the amount of such compensation in
   8     Column A or B, but instead state the amount in the space below:

          Unemployment compensation claimed to
          be a benefit under the Social Security Act        Debtor $            Spouse $                       $ 0.00           $
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                           Page:38 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                            2


        Income from all other sources. Specify source and amount. If necessary, list additional
        sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
        maintenance payments paid by your spouse, but include all other payments of alimony
        or separate maintenance. Do not include any benefits received under the Social Security
  9
        Act or payments received as a victim of a war crime, crime against humanity, or as a victim
        of international or domestic terrorism.



          a. prorated tax refund                                             $ 453.08
                                                                                                               $ 453.08    $

        Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 thru 9
  10    in Column B. Enter the total(s).                                                                       $ 663.08    $


        Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
        enter the total. If Column B has not been completed, enter the amount from Line 10, Column              $ 663.08
  11
        A.

                             Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD


  12    Enter the amount from Line 11.                                                                                     $ 663.08

        Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
  13
        calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
        spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a
        regular basis for the household expenses of you or your dependents and specify, in the lines below, the
        basis for excluding this income (such as payment of the spouse’s tax liability or the spouse’s support of
        persons other than the debtor or the debtor’s dependents) and the amount of income devoted to each
        purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
        adjustment do not apply, enter zero.

                                                                                                                           $ 0.00
          a.                                                                         $
        Total and enter on Line 13.
  14    Subtract Line 13 from Line 12 and enter the result.                                                                $ 663.08
  15    Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
        and enter the result.                                                                                              $ 7,956.96
        Applicable median family income. Enter the median family income for applicable state and household size. (This
  16    information is availableby family size at www.usdoj.gov/ustor from the clerk of the bankruptcy court.)
                                                                                                                           $ 39,171.00
                                               GA
        a. Enter debtor’s state of residence:__________________________                                      1
                                                                        b. Enter debtor’s household size:____________


        Application of § 1325(b)(4). Check the applicable box and proceed as directed.

             The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period
  17         is 3 years" at the top of page 1 of this statement and continue with this statement.

             The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment
             period is 5 years" at the top of page 1 of this statement and continue with this statement.

                Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME

  18    Enter the amount from Line 11.                                                                                     $        663.08
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                   Page:39 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                                          3


        Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
  19
        of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
        of the debtor or the debtor’s dependents. Specify in the lines below the basis for excluding the Column B
        income (such as payment of the spouse’s tax liability or the spouse’s support of persons other than the
        debtor or the debtor’s dependents) and the amount of income devoted to each purpose. If necessary, list
        additional adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter
        zero.

                                                                                                                                        $            0.00
         a.                                                                                 $
        Total and enter on Line 19.

  20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                    $      663.08
        Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number
  21    12 and enter the result.                                                                           $                                 7,956.96

  22    Applicable median family income. Enter the amount from Line 16                                                                  $ 39,171.00

        Application of § 1325(b)(3). Check the applicable box and proceed as directed.
               The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined under §
  23           1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
               The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not determined
               under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement.
                                                                                                               Do not complete Parts IV, V, or VI.

                                   Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                            Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

        National Standards: food, apparel and services, housekeeping supplies, personal care, and
24A     miscellaneous. Enter in Line 24A the “Total” amount from IRS National Standards for Allowable Living
        Expenses for the applicable household size. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                                                                        $
        clerk of the bankruptcy court.)

        National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
24B     Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
        Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
        www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the number of members of
        your household who are under 65 years of age, and enter in Line b2 the number of members of your
        household who are 65 years of age or older. (The total number of household members must be the same as
        the number stated in Line 16b.) Multiply Line a1 by Line b1 to obtain a total amount for household members
        under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household
        members 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
        amount, and enter the result in Line 24B.

          Household members under 65 years of age                        Household members 65 years of age or older
         a1. Allowance per member                                       a2.    Allowance per member
         b1. Number of members                                          b2.    Number of members

         c1.     Subtotal                                               c2.    Subtotal
                                                                                                                                        $

        Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
25A     and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
        information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                      $
      Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                       Page:40 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                 4

        Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of
        the IRS Housing and Utilities Standards; mortgage/rent expense for your county and household size (this
25B     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
        total of the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract
        Line b from Line a and enter the result in Line 25B. Do not enter an amount less than zero.

         a.       IRS Housing and Utilities Standards; mortgage/rentexpense     $
         b.       Average Monthly Payment for any debts secured by home, if     $
                  any, as stated in Line47.
         c.       Net mortgage/rentalexpense                                    Subtract Line b from Line a              $

       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
       and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
26     Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:
                                                                                                                         $



       Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
       an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
       and regardless of whether you use public transportation.

       Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 7.       0       1        2 or more.
27A
       If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS            $
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
       the bankruptcy court.)
       Local Standards: transportation; additional public transportation expense. If you pay the operating
27B    expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
       additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
       amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
       the clerk of the bankruptcy court.)                                                                               $

       Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
       which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more
       than two vehicles.)
              1        2 or more.
       Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
28     (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
       Line a and enter the result in Line 28. Do not enter an amount less than zero.

         a.       IRS Transportation Standards, Ownership Costs                 $
         b.       Average Monthly Payment for any debts secured by Vehicle 1,
                  as stated in Line 47.                                         $
         c.       Net ownership/leaseexpense for Vehicle 1                      Subtract Line b from Line a              $
      Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                      Page:41 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                5


        Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
        the “2 or more” Box in Line 28.
        Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
29      (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
        Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
        Line a and enter the result in Line 29. Do not enter an amount less than zero.
         a.      IRS Transportation Standards, Ownership Costs                 $
         b.      Average Monthly Payment for any debts secured by Vehicle 2,   $
                 as stated in Line 47
         c.      Net ownership/leaseexpense for Vehicle 2                      Subtract Line b from Line a              $

       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
30     federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                                     $
       taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       payroll deductions that are required for your employment, such as retirement contributions, union dues, and
31     uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                     $
       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually
       pay for term life insurance for yourself. Do not include premiums for insurance on your dependents, for
32     whole life or for any other form of insurance.                                                                   $
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
       required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
33     payments. Do not include payments on past due obligations included in Line 49.                                   $

       Other Necessary Expenses: education for employment or for a physically or mentally challenged
       child. Enter the total average monthly amount that you actually expend for education that is a condition of
34     employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                        $
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
35     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
       payments.                                                                                                        $
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
36     on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                                                                        $
       Line 24B. Do not include payments for health insurance or health savings accounts listed in Line 39.
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
37     you actually pay for telecommunication services other than your basic home telephone and cell phone
       service— such as pagers, call waiting, caller id, special long distance, or internet service—to the extent
       necessary for your health and welfare or that of your dependents. Do not include any amount previously
                                                                                                                        $
       deducted.
38     Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                              $
                                          Subpart B: Additional Living Expense Deductions
                             Note: Do not include any expenses that you have listed in Lines 24-37
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.
         a.     Health Insurance                                   $
39
         b.     Disability Insurance                               $
         c.     Health Savings Account                             $

                                                                                                                        $
       Total and enter on Line 39
       If you do not actually expend this total amount, state your actual total average monthly expenditures in
       the space below:
       $
      Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                      Page:42 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                 6

       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
40     elderly, chronically ill, or disabled member of your household or member of your immediate family who is           $
       unable to pay for such expenses. Do not include payments listed in Line 34.
       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
41     you actually incurred to maintain the safety of your family under the Family Violence Prevention and               $
       Services Act or other applicable federal law. The nature of these expenses is required to be kept confidential
       by the court.
       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
42                                                                                                                        $
       provide your case trustee with documentation of your actual expenses, and you must demonstrate
       that the additional amount claimed is reasonable and necessary.
       Education expenses for dependent children under 18. Enter the total average monthly expenses that
       you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
43     secondary school by your dependent children less than 18 years of age. You must provide your case
       trustee with documentation of your actual expenses, and you must explain why the amount claimed                    $
       is reasonable and necessary and not already accounted for in the IRS Standards.
       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
44     National Standards, not to exceed 5% of those combined allowances. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
       amount claimed is reasonable and necessary.                                                                        $

       Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
45     charitable contributions in the form of cash or financial instruments to a charitable organization as defined in   $
       26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.

46     Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                        $

                                           Subpart C: Deductions for Debt Payment

       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
       total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
       filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
47     the total of the Average Monthly Payments on Line 47.
                  Name of          Property Securing the Debt         Average                  Does payment
                  Creditor                                            Monthly                  include taxes
                                                                      Payment                  or insurance?
         a.                                                     $                            yes       no
                                                                                          Total: Add Lines a, b and c     $
       Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
       in addition to the payments listed in Line 47, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
 48    List and total any such amounts in the following chart. If necessary, list additional entries on a separate
       page.
                     Name of Creditor                 Property Securing the Debt          1/60th of the Cure Amount

                                                                                        Total: Add Lines a, b and c       $
       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
49     as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy        $
       filing. Do not include current obligations, such as those set out in Line 33.
      Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                              Page:43 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                         7


       Chapter 13 administrative expenses. Multiply the amount in line a by the amount in line b, and enter the
       resulting administrative expense.

         a.    Projected average monthly Chapter 13 plan payment.                        $
         b.    Current multiplier for your district as determined under schedules issued
 50            by the Executive Office for United States Trustees. (This information is
               available atwww.usdoj.gov/ust/ or from the clerk of the bankruptcy
               court.)                                                                   x
         c.    Average monthly administrative expense of Chapter 13 case
                                                                                              Total: Multiply Lines a and b   $

 51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                             $

                                            Subpart D: Total Deductions from Income

52     Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                              $


                    Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

53     Total current monthly income. Enter the amount from Line 20.                                                           $
       Support income. Enter the monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
54                                                                                                                    $
       nonbankruptcy law, to the extent reasonably necessary to be expended for such child.
       Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer
55     from wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required $
       repayments of loans from retirement plans, as specified in § 362(b)(19).

56     Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                      $
57     Deduction for special circumstances. If there are special circumstances that justify additional expenses
       for which there is no reasonable alternative, describe the special circumstances and the resulting expenses
       in lines a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the
       total in Line 57. You must provide your case trustee with documentation of these expenses and you
       must provide a detailed explanation of the special circumstances that make such expenses
       necessary and reasonable.
                                Nature of special circumstances                               Amount of expense

          a.                                                                              $
                                                                                          Total: Add Lines a, b, and c        $



58     Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and $
       enter the result.
       Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.
59                                                                                                                            $

                                          Part VI. ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
       health and welfare of you and your family and that you contend should be an additional deduction from your current
       monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should
       reflect your average monthly expense for each item. Total the expenses.
60
                                         Expense Description                                             Monthly Amount
                                                           Total: Add Lines a, b, and c        $
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                         Page:44 of 54
B22C (Official Form 22C) (Chapter 13) (01/08)                                                                                            8


                                                     Part VII: VERIFICATION
        I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
        both debtors must sign.)
  61             Date: 10/22/2008                             Signature: s/ Temeka P Sledge
                                                                           Temeka P Sledge, (Debtor)
          Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                    Page:45 of 54
                                                           UNITED STATES BANKRUPTCY COURT
                                                                Southern District of Georgia

In re:      Temeka P Sledge                                                                                  Case No.

            9977                                                                                             Chapter      13

                                              APPLICATION/ORDER FOR FEES
                                                   Memorandum of Receipts and Disbursements;
                                             Statement of Attorney Pursuant to Bankruptcy Rule 2016(b);
                                                                 and Order Thereon

TO THE HONORABLE BANKRUPTCY JUDGE:

Applicant hereby makes application for fees and represents that the fee arrangement in this proceeding is as follows:

1. That Applicant, as attorney for the debtor, has performed all services necessary for the confirmation of the Debtor's Plan. The
services include interviews with debtor; the preparation and filing of the Debtor's Petition, Chapter 13 Statement, Plan and
Plan Analysis; and appearance at the § 341 meeting and confirmation hearing.

2. That Applicant believes a reasonable fee for said services to be     $2,500.00 and prays that said fee be approved and allowed.
3. That Applicant has received payments from the debtor and made disbursements on behalf of the debtor, as follows:
                       Total Received                                   $0.00
                       Disbursements:
                              Filing fee                                                $0.00
                              Trustee                                                   $0.00
                              Other                                                     $0.00
                       Total Disbursements:                                                                          $0.00
                       Amount applied to attorneys' fees                                                             $0.00
                       Balance of attorneys' fees                                                                $2,500.00

The total amount of money paid to attorney on behalf of debtor within one (1) year of the date of filing is the sum of
                                                                                                                                         $0.00
including fees reserved for Chapter 13.
4. That in addition to the foregoing statements, Applicant makes the following statements pursuant to Bankruptcy Rule 2016(b):
      (a) The details set forth by the debtor herein in the Chapter 13 Statement concerning compensation paid and compensation
promised to be paid to his attorney of record is a true, complete and accurate statement of the agreement between the debtor
and the attorney of record for legal services rendered and to be rendered herein.

         (b) The source of the monies paid by the debtor to the attorney of record to the best of the knowledge and belief of said
attorney was:
                       through plan
     (c) The attorney of record has not shared or agreed to share, other than with members of the law firm or corporation,
any of said compensation with any other person except:
                       None



                                                           s/Angela McElroy-Magruder
 Dated: 10/22/2008
                                                           Angela McElroy-Magruder, Bar No. 113625

                                                           Attorney for Debtor
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                            Page:46 of 54

                                                                    ORDER
The sum of $________________ is hereby allowed Applicant as compensation for the services referred to in the above Application
and the Trustee is directed to pay the unpaid balance thereof, the sum of $________________ from the estate in accordance
with the Plan.

     Dated:



                                                                      United States Bankruptcy Judge
          Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                                       Page:47 of 54
B 203
(12/94)

                                                      UNITED STATES BANKRUPTCY COURT
                                                           Southern District of Georgia
In re:         Temeka P Sledge                                                                                    Case No.
                                                                                                                  Chapter         13
                                                 Debtor

                               DISCLOSURE OF COMPENSATION OF ATTORNEY
                                              FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                         $            2,500.00
          Prior to the filing of this statement I have received                                                               $               0.00
          Balance Due                                                                                                         $            2,500.00
2. The source of compensation paid to me was:

                 Debtor                                           Other (specify)
3. The source of compensation to be paid to me is:
                 Debtor                                           Other (specify)

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
            of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
            my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
            attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
    including:

     a)     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
            a petition in bankruptcy;

     b)     Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e)     [Other provisions as needed]
            None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                        CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
 representation of the debtor(s) in this bankruptcy proceeding.

 Dated: 10/22/2008

                                                                        s/Angela McElroy-Magruder
                                                                        Angela McElroy-Magruder, Bar No. 113625

                                                                        CLAEYS MCELROY-MAGRUDER
                                                                        Attorney for Debtor(s)
       Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                        Page:48 of 54
    B 201 (04/09/06)

                                       UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF GEORGIA


                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                     OF THE BANKRUPTCY CODE
                  In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
    credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
    you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
    all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
    not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
    you decide to file a petition. Court employees cannot give you legal advice.
    1. Services Available from Credit Counseling Agencies
             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
    bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
    counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
    before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
    telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
    United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
    approved budget and credit counseling agencies.
              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
    management instructional course before he or she can receive a discharge. The clerk also has a list of approved
    financial management instructional courses.


    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

              1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
   residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
   case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
              2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
   creditors.
              3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
   to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
   and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
              4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
   vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
   breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
   not discharged.
        Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ( $235 filing fee, $39
administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
    amounts set forth in the Bankruptcy Code.
             2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
    them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
    depending upon your income and other factors. The court must approve your plan before it can take effect.
             3. After completing the payments under your plan, your debts are generally discharged except for domestic support
    obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
    secured obligations.
  Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                         Page:49 of 54
B 201                                                                                                                Page 2

    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
    Chapter 12: Family Farmer or Fisherman ( $200 filing fee, $39 administrative fee: Total fee $239)

         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                                           Certificate of Attorney

              I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

Angela McElroy-Magruder                                                         s/Angela McElroy-Magruder   10/22/2008
Printed Name of Attorney                                                        Signature of Attorney                    Date

Address:
CLAEYS MCELROY-MAGRUDER
512 Telfair Street
Augusta GA 30901


706-724-6000

                                                         Certificate of the Debtor
    I , the debtor, affirm that I have received and read this notice.
Temeka P Sledge                                                         X s/ Temeka P Sledge                10/22/2008
Printed Name of Debtor                                                    Temeka P Sledge
                                                                         Signature of Debtor                     Date
Case No. (if known)
Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17                                          Page:50 of 54

                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF GEORGIA


    In re:                                                         Case No.
    Temeka P Sledge
                                                                   Chapter             13


    Debtor.


                        CERTIFICATION OF CREDITOR MAILING MATRIX

    The purpose of the Certification of Creditor Mailing Matrix form is to certify that the creditor information
    provided on the diskette (or by ECF submission) matches exactly the creditor information provided on the
    schedules. Accordingly, I hereby certify under penalty of perjury that the master mailing list of creditors
    submitted on computer diskette or electronically via the CM/ECF system is true, correct, and complete listing to
    the best of my knowledge and that the names and number of creditors provided on the diskette/ECF
    submission corresponds exactly to the creditor information listed on the schedules.

    I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the shared
    responsibility of the debtor and the debtor’s attorney; (2) the court will rely on the creditor listing for all mailings;
    (3) the various schedules and statements required by the Bankruptcy Rules are not used for mailing purposes;
    and (4) that debtor, attorney and trustee information is not included on this diskette or electronic submission.

    The master mailing list of creditors is submitted via:

              computer diskette listing a total of _________ creditors which corresponds exactly to the schedules; or

              electronic means (ECF) listing a total of 29 creditors which corresponds exactly to the schedules.

                                                                   s/ Temeka P Sledge
                                                                   Temeka P Sledge
                                                                   Debtor
                                                                   s/Angela McElroy-Magruder
                                                                   Angela McElroy-Magruder
                                                                   Attorney for Debtor(s)

    Date: 10/22/2008


    Revised: 10/05                                                                                                EXHIBIT 1
Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17   Page:51 of 54
                       1st Franklin Financial
                       PO box 1063
                       Statesboro GA 30459




                       AccountSecure
                       PO Box 6989
                       Bridgewater NJ    08807




                       American Recovery & Investigations
                       PO box 518
                       Guton GA 31312




                       Applied Bank
                       PO Box 10210
                       Wilmington DE    19850




                       ARC
                       6405 218th St, SW, Ste 302
                       Mountlake Terrace WA 98043




                       AT&T Mobility
                       PO Bxo 538641
                       Atlanta GA 30353




                       Bank of Marin
                       c/o Asset Acceptance
                       PO Box 2036
                       Warren MI 48090


                       Capital One
                       PO Box 30285
                       SLC UT 84130




                       City of Statesboro
                       c/o Lanier
                       330 Benfield Dr
                       Savannah GA 31406
Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17   Page:52 of 54
                       Credit Guard of Georgia
                       PO Box 172
                       Swainsboro GA 30401




                       East GA Diagnostic Svcs
                       c/o Cab Collection
                       2230 Technical Pkwy
                       N Charleston SC 29406


                       East Ga Pulmonary
                       PO box 2748
                       Statesboro GA 30459




                       Family Health Care Center
                       PO Box 957
                       Statesboro GA 30459




                       First Premier
                       601 S Minnesota Ave
                       Sioux Falls SD 57104




                       First Revenue Assurance
                       PO Box 3020
                       Albuquerque NM 87190




                       GEMB/JC Penney
                       PO Box 981402
                       El Paso TX 79998




                       HSBC Bank
                       PO Box 5253
                       Carol Stream IL    60197




                       International Portfolio
                       c/o Weltman Weinberg & Reis Co
                       965 Keynote Circle
                       Brooklyn Heights OH 44131
Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17   Page:53 of 54
                       Melvin & Joy Williams
                       3509 Northpines Dr
                       Augusta GA 30906




                       Peak 5
                       6782 S Potomac St
                       Centennial CO 80112




                       Personal Finance
                       223 S Main Street
                       Statesboro GA 30458




                       Proactiv Solutions
                       c/o Sko Brenner American
                       PO Box 230
                       Frmngdale NY 11735


                       Progressive Insurance
                       c/o NCO Financial
                       PO Box 15636
                       Wilmington DE 19850


                       Quest Diagnostics
                       PO Bxo 41652
                       Philadelphia PA 19101




                       Simm Associates
                       PO Box 7526
                       Newark DE 19714




                       SST Inc
                       PO Box 801997
                       Kansas City MO   64180




                       US Dept of Education
                       501 Bleecker St
                       Utica NY 13501
Case:08-60700-JSD Doc#:1 Filed:10/22/08 Entered:10/22/08 16:01:17   Page:54 of 54
                       Walker Home Medical
                       206 Northside Dr W, Ste 1
                       Statesboro GA 30458




                       Walter Home med Equip
                       c/o Reynolds & Robin
                       PO Box 888
                       Metter GA 30439
